Case 1:18-cv-00124-GJQ-RSK ECF No. 48 filed 06/21/18 PageID.315 Page 1 of 3



                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

DANIEL WILLIAM RUDD,
    Plaintiff,

v                                              No. 1:18-cv-124

THE CITY OF NORTON SHORES,                     HON. GORDON J. QUIST
MAYOR GARY NELUND, individually
and in his official capacity,                  MAG. RAY KENT
POLICE CHIEF DANIEL SHAW,
individually and in his official capacity,
SERGEANT MATTHEW RHYNDRESS,
individually and in his official capacity,
OFFICER MICHAEL WASSILEWSKI,
individually and in his official capacity,
MARK MEYERS, individually and as city
manager,
____

F/LT. CHRIS MCINTIRE, Michigan State
Police only in his individual capacity;
____

ATTORNEY DOUGLAS HUGHES,
individually and acting on behalf of his law
firm,
WILLIAM HUGHES, PLLC, a Michigan
law firm,
____

ATTORNEY MELISSA MEYERS,
individually and acting on behalf of her
law firm,
ATTORNEY MICHELLE MCLEAN,
individually and acting on behalf of her
law firm,
ATTORNEY JOEL BAAR, individually
and acting on behalf of his law firm,
BOLHOUSE, BAAR & HOFSTEE PC, a
Michigan law firm,
Defendants.



                                           1
Case 1:18-cv-00124-GJQ-RSK ECF No. 48 filed 06/21/18 PageID.316 Page 2 of 3




_____________________________________________________________________________
 Daniel William Rudd                    Michael S. Bogren (P34835)
 Pro Se Plaintiff                       Plunkett Cooney
 201 S. Lake Ave.                       Attorney for Defendants City of Norton
 Spring Lake, MI 49456                  Shores, Gary Nelund, Daniel Shaw,
 231.557.2532                           Matthew Rhyndress, Michael
 daniel@stock20.com                     Wassilewski, Mark Meyers, Douglas
                                        Hughes and William Hughes, PLLC
 Melissa Meyers (P59559)                950 Trade Centre Way, Ste. 310
 Tanis Schultz PLLC                     Kalamazoo, MI 49002
 Attorney for Defendant Melissa Meyers 269.226.8822
 85 Campau Ave NW Ste R305              mbogren@plunkettcooney.com
 Grand Rapids, MI 49503-2611
 mmeyers@tanisschultz.com

Michelle M. McLean (P71393)                Sarah R. Robbins (P81944)
Bolhouse Baar & Lefere PC                  Michigan Dept. of Attorney General
Attorney for Defendants, Michelle          Attorney for Defendant Chris McIntire
McLean, Joel Baar and Bolhouse, Baar       P.O. Box 30736
& Hofstee PC                               Lansing, MI 48909
Grandville State Bank Bldg.                517.373.1162
3996 Chicago Dr. SW                        robbinss@michigan.gov
Grandville, MI 49418
616.531.7711
michellem@bolhouselaw.com



      OPPOSITION TO PLAINTIFF’S MOTION FOR SUR-REPLY TO
          DEFENDANT MCINTIRE’S MOTION TO DISMISS

                                             Bill Schuette
                                             Attorney General

                                             Sarah R. Robbins (P81944)
                                             Rock Wood (P41181)
                                             Michigan Dept. of Attorney General
                                             Attorneys for Defendant McIntire
                                             P.O. Box 30736
                                             Lansing, MI 48909
                                             517.373.1162

Dated: June 21, 2018



                                       2
Case 1:18-cv-00124-GJQ-RSK ECF No. 48 filed 06/21/18 PageID.317 Page 3 of 3




      Defendant McIntire opposes Plaintiff’s motion for additional briefing to the

pending motion to dismiss, which was filed in April 2018. The requested additional

briefing is not necessary as the Court has received sufficient briefing to address the

matters raised in Defendant McIntire’s Motion to Dismiss and the accompanying

brief. (ECF Nos. 23 and 24). Both parties have been afforded the briefing allowed

under the court rules and the pending dispositive motion is ripe for decision.

                           Conclusion and Relief Requested

      Defendant McIntire respectfully requests this Court deny Plaintiff’s motion

for additional briefing and rule on the pending motion to dismiss.

      In total, for the reasons outlined in the previously filed Motion to Dismiss

(ECF No. 23), the accompanying brief in support (ECF No. 24), the reply (ECF No.

44), and above this Court should dismiss all claims against Defendant Lieutenant

McIntire with prejudice and grant such other relief as this Honorable Court deems

appropriate.

                                              Respectfully submitted,

                                              Bill Schuette
                                              Attorney General


                                              /s/ Sarah R. Robbins
                                              Sarah R. Robbins (P81944)
                                              Attorney for Defendant McIntire
                                              Michigan Dep’t of Attorney General
                                              State Operations Division
                                              P.O. Box 30754
                                              Lansing, MI 48909
                                              (517) 373-1162
Dated: June 21, 2018                          RobbinsS@michigan.gov



                                          3
